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                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                                                                       March 17, 2023
                                                                     Nathan Ochsner, Clerk




                  UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF TEXAS
                       HOUSTON DIVISION

        IN RE: ANADARKO           §   CIVIL ACTION NO.
        PETROLEUM                 §   4:20-CV-00576
        CORPORATION               §
        SECURITIES                §
        LITIGATION                §   JUDGE CHARLES ESKRIDGE
                                  §
                                  §
                                  §
                                  §

                               ORDER

           On March 16, 2023, Lead Plaintiff Norfolk County
       Council as Administering Authority of the Norfolk Pension
       Fund, Iron Workers Local #580 Joint Funds, and Building
       Trades United Pension Trust Fund (collectively, “Lead
       Plaintiff”), and Defendants Anadarko Petroleum
       Corporation, R.A. Walker, Robert G. Gwin, Robert P.
       Daniels and Ernest Leyendecker, III (collectively,
       “Defendants” and, together with Lead Plaintiff, the
       “Parties”), jointly moved for leave to file Defendants’
       summary judgment brief and its exhibits and the exhibits
       to the parties’ Daubert briefs under interim seal.
           The Parties’ joint motion (ECF No. 159) is
       hereby GRANTED.         Within three (3) weeks of the
       deadlines set forth      in   the   Court’s  Amended
       Scheduling and Docket Control Order (ECF No. 150),
       the parties moving to seal are instructed to file a
       motion to seal attaching proposed redacted copies
       pursuant to the procedure outlined in Section 12(b) of
       the Court’s Procedures.
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           SO ORDERED.
                     March 17, 2023 at Houston, Texas.
           Signed on _______________,




                               Hon. Charles Eskridge
                               United States District Judge
